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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


    UNITED STATES OF AMERICA,                      )         CASE NO. 1:19-cr-41
                                                   )
                           PLAINTIFF,              )         CHIEF JUDGE SARA LIOI
                                                   )
    vs.                                            )
                                                   )         ORDER ON VIOLATION OF
                                                   )         CONDITIONS OF SUPERVISED
                                                   )         RELEASE
    OMAR PAULINO-GUZMAN,                           )
                                                   )
                          DEFENDANT.               )


          A Violation Report was filed in this case on January 12, 2021.1 The Court referred

this matter to Magistrate Judge Amanda M. Knapp to conduct appropriate proceedings and

to file a report and recommendation. Magistrate Judge Knapp reported that a supervised

release violation hearing was held on April 21, 2025. The defendant admitted to the

following violations:

          1.   Unauthorized Use of Illicit Drugs;
          2.   Failure to Attend Programming as Directed;
          3.   Failure to Submit to Drug Testing as Required;
          4.   New Law Violation;
          5.   New Law Violation; and
          6.   Violation of Mandatory Condition: The defendant shall not own, possess, or
               have access to a firearm, ammunition, destructive device, or any other
               dangerous weapon.



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  Supplemental reports were filed on August 19, 2021, and December 7, 2021, to update the Court on the
state court proceedings.
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        The magistrate judge filed a report and recommendation on April 21, 2025, in

which the magistrate judge recommended that the Court find that the defendant has violated

the conditions of his supervised release as set forth in violation numbers 1, 2, 3, 4, 5, and

6.

        A final supervised release violation hearing was conducted on May 13, 2025.

Present were the following: Assistant United States Attorney Colleen Egan, representing

the United States; Assistant Federal Public Defender David Johnson, representing the

defendant; the defendant Omar Paulino-Guzman, AO-certified Spanish interpreter

Cynthia Lepeley, and United States Probation Officer Alfred Preston, Jr.

        No objections were filed to the report and recommendation of the magistrate judge.

Upon review, the Court adopts the report and recommendation of the magistrate judge and

finds the defendant to be in violation of the terms and conditions of his supervised release

as set forth in violation numbers 1, 2, 3, 4, 5, and 6.

        IT IS ORDERED that the defendant’s supervised release is revoked, and the

defendant is committed to the custody of the Bureau of Prisons for a term of 15 months, to

be served consecutively to the undischarged sentence in the Cuyahoga County Court of

Common Pleas, case number CR-20-655473. The defendant is to receive credit for time

served to date. No supervised release to follow.

        Defendant remanded.

        IT IS SO ORDERED.

 Dated: May 13, 2025
                                                   HONORABLE SARA LIOI
                                                   CHIEF JUDGE
                                                   UNITED STATES DISTRICT COURT

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